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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
  ____________________________________
                                       :
                                       :
  IN RE: AMERICAN MEDICAL              :  19-md-2904 (MCA) (MAH)
  COLLECTION AGENCY, INC.,             :  MDL No. 2904
  CUSTOMER DATA SECURITY               :
  BREACH LITIGATION                    :        ORDER
                                       :
  ____________________________________:

          This matter having come before the Court on a discovery dispute regarding non-party

  American Medical Collection Agency’s (“AMCA”) non-production of a full forensic analysis

  report prepared by Charles River Associates (“Charles River”), Joint Ltr., Mar. 29, 2023, D.E.

  497;

          and AMCA asserting that the full forensic analysis report (the “CRA Report”) is

  privileged, id.;

          and Plaintiffs and Defendants arguing that AMCA must produce the CRA Report, id.;

          and the Court having reviewed the parties’ submissions and conducted an in camera

  review of the CRA Report;

          and for the reasons stated in an accompanying Opinion filed this date;

          and for good cause shown,

          IT IS on this 16th day of October 2023,

          ORDERED that AMCA shall produce the full CRA Report and all underlying factual

  materials Charles River relied on in creating the CRA Report not later than October 23, 2023;

  and it is further

          ORDERED that the Court has temporarily sealed the accompanying Opinion because the

  parties filed the joint letter and exhibits which are the subject of the Opinion under seal. To the
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  extent any party wishes to seal any portion of the Opinion, that party shall make an appropriate

  motion in accordance with Local Civil Rule 5.3(c)(3), within fourteen days of this Order. If no

  party timely files such a motion, or otherwise moves to extend the deadline by which to file the

  same, the temporary seal will be lifted.




                                        s/ Michael A. Hammer
                                        UNITED STATES MAGISTRATE JUDGE




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